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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v. CASE NO. 3:24-cr- A433 -nes- PoB

33 U.S.C. § 1908(a)
AVIN INTERNATIONAL LTD and 18 U.S.C. § 2
KRITI RUBY SPECIAL
MARITIME ENTERPRISE
INFORMATION

The United States Attorney for the Middle District of Florida and the

Assistant Attorney General for the Environment and Natural Resources Division of

the U.S. Department of Justice charge:

COUNT ONE
(Failure to Maintain Records)

From at least as early as on or about May 22, 2022, through on or about May
27, 2022, at the Port of Jacksonville, in the Middle District of Florida, and elsewhere,

the Defendants,

AVIN INTERNATIONAL LTD, and
KRITI RUBY SPECIAL MARITIME ENTERPRISE,

by and through the acts of their agents and employees, who were acting within the

scope of their agency and employment, and with the intent to benefit the Defendants,

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at least in part, knowingly failed to maintain, and caused the failure to maintain, an
accurate Oil Record Book for the Motor Tanker Kriti Ruby as prohibited by Title 33,

Code of Federal Regulations, Section 151.25.

In violation of 33 U.S.C. § 1908(a) and 18 U.S.C. § 2.

ROGER B. HANDBERG
United States Attorney

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JOHN CANNIZZARO
Assistant United States Attorney

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MICHAEL J-COOLICAN
Assistant United States Attorney
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TODD KIM
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LAUREN D. STEELE
Trial Attorney

